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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


In re:                                                              Chapter 11

USA GYMNASTICS, 1                                                   Case No. 18-09108-RLM-11

                   Debtor.


                 PACHULSKI STANG ZIEHL & JONES LLP’S NOTICE
           OF INVOICE FOR AUGUST 1, 2019 THROUGH SEPTEMBER 30, 2019

         PLEASE TAKE NOTICE that on October 21, 2019, Pachulski Stang Ziehl & Jones

LLP (“PSZJ”), as co-counsel to the Additional Tort Claimants Committee of Sexual Abuse

Survivors (the “Sexual Abuse Survivors’ Committee”), submitted a monthly invoice for fees and

expenses incurred between August 1, 2019 and August 31, 2019 (the “August 2019 Invoice”)

and a monthly invoice for fees and expenses incurred between September 1, 2019 and September

30, 2019 (the “September 2019 Invoice,” and together with the August 2019 Invoice, the

“Invoices”), in accordance with the Order Granting Debtor’s Motion for Entry of Order

Establishing Procedures for Interim Compensation and Reimbursement of Professionals (the

“Interim Compensation Order”) [Doc 187].

         PLEASE TAKE FURTHER NOTICE that the August 2019 Invoice, attached hereto as

Exhibit A, seeks compensation for $153,627.00 in fees and reimbursement of $11,102.89 in

expenses.

         PLEASE TAKE FURTHER NOTICE that the September 2019 Invoice, attached

hereto as Exhibit B, seeks compensation for $38,860.50 in fees and reimbursement of $1,003.80

in expenses.

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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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       PLEASE TAKE FURTHER NOTICE that any party that has an objection to the

compensation and reimbursement set forth in this notice, must serve upon the undersigned

counsel a written notice of objection by November 4, 2019 at 4:00 p.m. (prevailing Eastern

time), in accordance with the Interim Compensation Order.

       PLEASE TAKE FURTHER NOTICE that, if no written notice of objection is timely

received, the Debtor shall promptly pay 80% of the fees and 100% of the expenses identified in

the Invoices, subject to final approval by the Court at a future hearing.

                                              Respectfully submitted,
                                              PACHULSKI STANG ZIEHL & JONES LLP
Dated: October 21, 2019                       /s/ James I. Stang
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                                              Ilan D. Scharf, Esq. (admitted pro hac vice)
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                                                      -and-
                                              RUBIN & LEVIN, P.C.
                                              /s/ Meredith R. Theisen
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                                                     mtheisen@rubin-levin.net
                                              Counsel for the Sexual Abuse Survivors’ Committee




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                                CERTIFICATE OF SERVICE


        I hereby certify that on October 21, 2019 a copy of the foregoing Pachulski Stang Ziehl
& Jones LLP’s Notice of Invoice for August 1, 2019 through September 30, 2019 was filed
electronically. Notice of this filing will be sent to the following parties through the Court’s
Electronic Case Filing System. Parties may access this filing through the Court’s system.

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        I further certify that on October 21, 2019, a copy of the foregoing Pachulski Stang Ziehl
& Jones LLP’s Notice of Invoice for August 1, 2019 through September 30, 2019 was served via
electronic mail to the following:
United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                                            /s/ Meredith R. Theisen
                                                                            Meredith R. Theisen
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